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Dennis Montgomery
Production #1

For much of the material sought by the subpoena, Mr. Montgomery is subject to the State Secrets:
Privilege and a non-disclosure obligation. with-the federal government, who in the past has
intervened when.such materials are being sought.

Where the request for production implicates this concern and for the sake of abbreviation, this
objection will be abbreviated to “SSP/NDA”

At this time, we have included a letter to Attorney General Garland notifying them of the.
intended disclosure. We will notify you immediately when we hear’a response.

l. SSP/NDA.
2, SSP/NDA
3. SSP/NDA
4; None.
5S. None.
6. None.

7. lamnot a Lindell.or My Pillow employee.

8. None.

9, SSP/NDA

10. None.that are responsive. I do record each broadcast but save the broadcasts frame by
frame. This amounts to several hundred million graphics files which I am sure
Smartmatic does not want.

11. None that are responsive. | repeat what | said in “10” above.

12. None that are responsive. | repeat what | said in “10” above.

13. I do not have-documents-and comrmunications concerning the “ACCUSED
PROGRAMS” other than. my answers in 10 through 12 above. To the extent that I

may have thei, they may be subject to the SSP / NDA.
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14. [have not made any statements but if I did, it would be subject to the SSP / NDA.

15. None.

16, I had multiple requests to be interviewed by. Reuters’ Aram Roston, but TI do not have
his contact information. | turned down Mr. Roston’s request.

17. Regarding Mr. Lindell’s programs, broadcasts, arid appearances, | do record them.
However, because they are saved frame by frame, the sheer number of hard drives

and expense makes production unreasonable. | do not have any other information.
